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              Exhibit 3
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Charted Claims
Non-Method Claim: 1
   US8788360                                Apple’s iPhone XS (“The Accused Product”)
1. A system for    The accused product utilizes a system (e.g., background tag reading) for processing a
processing a       wireless request (e.g., request to delivers the tag data to the appropriate app by a user
wireless request   tapping the notification obtained from NFC data) over a network based on a human-
over a network     perceptible advertisement (e.g., URI record containing either a universal link or a
based on a         supported URL scheme corresponding to a product or service) for advertising to
human-             consumers a product or service offered by a vendor , the advertisement (e.g., URI
perceptible        record containing either a universal link or a supported URL scheme corresponding to a
advertisement      product or service) attached with at least one radio frequency identification (RFID) tag
for advertising    (e.g., NFC tag), the at least one RFID tag (e.g., NFC tag) being configured to transmit a
to consumers a     wireless identification transmission signal (e.g., a pop-up notification each time it reads
product or         a new tag) representing information pertaining to the product or service (e.g., URI
service offered    record containing either a universal link or a supported URL scheme corresponding to a
by a vendor, the   product or service) offered by a vendor comprising:
advertisement
attached with at   As shown below, Apple’s iPhone XS supports Background Tag Reading that delivers a
least one radio    pop-up notification that contains URI record containing either a universal link or a
frequency          supported URL scheme corresponding to a product or service (i.e., advertisement).
identification     Upon clicking/tapping the notification, the system launches the app that supports the
(RFID) tag, the    URL scheme.
at least one
RFID tag being
configured to
transmit a
wireless
identification
transmission
signal
representing
information
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pertaining to the
product or
service offered
by a vendor
comprising:




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                  https://www.iso.org/standard/59643.html

mobile ordering   The accused product is a mobile ordering device (e.g., Apple’s iPhone XS) of a human
device of a       consumer who perceives the human-perceptible advertisement (e.g.,             URI record
human             containing either a universal link or a supported URL scheme corresponding to a
consumer who      product or service), the mobile ordering device (e.g., Apple’s iPhone XS) comprising a
perceives the     radio frequency identification reader (e.g., Apple’s iPhone XS operating on a NFC reader
human-            mode (i.e., NFC Tag Reader)) configured to transmit a signal (e.g., transmitting a
perceptible       continuous-wave (CW) RF signal during scanning of tags) to the at least one RFID tag
advertisement,    (e.g., NFC tag) attached with the advertisement (e.g., URI record containing either a
the mobile        universal link or a supported URL scheme corresponding to a product or service) and to
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ordering device     receive in response (e.g., responds) from the at least one RFID tag (e.g., NFC tag) the
comprising a        wireless identification transmission signal (e.g., a pop-up notification each time it reads
radio frequency     a new tag) corresponding to the advertisement (e.g., URI record containing either a
identification      universal link or a supported URL scheme corresponding to a product or service) and
reader              representing information pertaining to the product or service offered by the vendor, the
configured to       mobile ordering device (e.g., Apple’s iPhone XS) further configured to accept input (e.g.,
transmit a signal   user taps the notification) from a consumer, generate an electronic request (e.g.,
to the at least     request to delivers the tag data to the appropriate app) with the received information
one RFID tag        from the wireless identification transmission signal (e.g., a pop-up notification each time
attached with       it reads a new tag) and communicate the request (e.g., request to delivers the tag data
the                 to the appropriate app) to and receive a response (e.g., launching the app that supports
advertisement       the URL scheme or opening the link in Safari) from a commerce data system (e.g.,
and to receive in   appropriate app providing an access to universal link or a supported URL scheme)
response from       across a network (e.g., RFID communication used by Near Field Communication (NFC)
the at least one    technology).
RFID tag the
wireless            As shown below, Apple’s iPhone XS (i.e., mobile ordering device) supports Background
identification      Tag Reading which enables the device to operate on a reader mode (i.e., radio
transmission        frequency identification reader) wherein the system scans for and reads NFC data from
signal              the nearby new NFC Tags (i.e., RFID tag). The system displays a pop-up notification
corresponding to    (i.e., wireless identification transmission signal corresponding to the advertisement and
the                 representing information pertaining to the product or service) each time it reads a new
advertisement       tag, which contains URI record containing either a universal link or a supported URL
and                 scheme corresponding to a product or service (i.e., to the advertisement and
representing        representing information pertaining to the product or service). Upon clicking/tapping
information         the notification (i.e., accept input from a consumer, generate an electronic request), the
pertaining to the   system launches the app that supports the URL scheme or the system opens the link in
product or          Safari (e.g., response) from a universal link or a supported URL scheme provider
service offered     namely, Facetime, Maps, HomeKit etc.(i.e., commerce data system).
by the vendor,
the mobile
ordering device
further
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configured to
accept input
from a
consumer,
generate an
electronic
request with the
received
information from
the wireless
identification
transmission
signal and
communicate
the request to
and receive a
response from a
commerce data
system across a
network;




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the mobile        The accused product discloses the mobile ordering device (e.g., Apple’s iPhone XS) in
ordering device   communication with the commerce data system (e.g., appropriate app providing an
in                access to universal link or a supported URL scheme), the commerce data system (e.g.,
communication     appropriate app providing an access to universal link or a supported URL scheme) for
with the          receiving and processing the request (e.g., request to delivers the tag data to the
commerce data     appropriate app by a user tapping the notification) of the mobile ordering device (e.g.,
system, the       Apple’s iPhone XS) across the network (e.g., internet), and responding to the request
commerce data     (e.g., request to delivers the tag data to the appropriate app by a user tapping the
system for        notification) by sending information (e.g., launching the app that supports the URL
receiving and     scheme or opening the link in Safari) to the mobile ordering device (e.g., Apple’s iPhone
processing the    XS) via the network, the information associated with the wireless identification
request of the    transmission signal (e.g., a pop-up notification each time it reads a new tag).
mobile ordering
device across     As shown below, Apple’s iPhone XS (i.e., mobile ordering device) supports Background
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the network,       Tag Reading system displaying a pop-up notification (i.e., wireless identification
and responding     transmission signal corresponding to the advertisement and representing information
to the request     pertaining to the product or service) each time it reads a new tag. Upon clicking/tapping
by sending         the notification (i.e., accept input from a consumer, generate an electronic request), the
information to     system launches the app that supports the URL scheme or the system opens the link in
the mobile         Safari (e.g., response) from a universal link or a supported URL scheme provider/app
ordering device    namely, Facetime, Maps, HomeKit etc. (i.e., commerce data system).
via the network,
the information
associated with
the wireless
identification
transmission
signal.




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